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 8                     United States District Court
 9                     Central District of California
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11   RAFAEL D. MIRANDA,                      Case № 2:20-cv-05527-ODW (KESx)

12                    Plaintiff,
                                             JUDGMENT
13         v.
14   KENT THIRY, et al.
15                    Defendants.
16
17         Pursuant to the Court’s Order Granting DaVita’s Motion to Dismiss and
18   Dismissing Remaining Defendants, it is hereby ORDERED, ADJUDGED, and
19   DECREED as follows:
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21   ///
22   ///
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Case 2:20-cv-05527-ODW-KES Document 70 Filed 12/03/21 Page 2 of 2 Page ID #:661




 1         1. Plaintiff Rafael D. Miranda shall take nothing from Defendants DaVita, Inc.;
 2             Kent Thiry; and HealthCare Partners, Inc.
 3         2. Plaintiff’s first claim for violation of the Defend Trade Secrets Act as
 4             asserted against DaVita is DISMISSED ON THE MERITS AND WITH
 5             PREJUDICE.
 6         3. The remainder of the action is DISMISSED WITHOUT PREJUDICE.
 7
 8         This Order shall constitute the FINAL JUDGMENT of the Court.
 9         All dates and deadlines in this matter are hereby VACATED. The Clerk of the
10   Court shall close the case.
11
12         IT IS SO ORDERED.
13
14         December 3, 2021
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16                                 ____________________________________
17                                          OTIS D. WRIGHT, II
                                    UNITED STATES DISTRICT JUDGE
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